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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA,

VS.                                                   CRIMINAL ACTION NO. 4:10CR056-P-S

CLIFTON GALES, ET AL.,                                                     DEFENDANT.

                                              ORDER

        This matter comes before the court upon Defendant Romanda Matthews’s May 3, 2011

motion to compel production of exculpatory evidence [199]. After due consideration of the motion

and the response filed thereto, the court finds as follows, to-wit:

        In its January 31, 2011 Order the court required the Government to provide Defendant

Matthews with all available exculpatory evidence within 30 days of that Order. Though

approximately a week after that Order’s deadline, on April 7, 2011 the Government provided

Defendant Matthews with a CD recording of an oral interview with William Lewis. Defendant

Matthews has not demonstrated that the Government has violated the court’s Order or the applicable

standards under Brady.

        A prosecutor is only required to produce what he knows or should know is exculpatory

evidence. He is not required to actively search for exculpatory evidence. The requests made of the

Government by Defendant Matthews in the instant motion are overly broad.

        IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Romanda Matthews’s

May 3, 2011 motion to compel production of exculpatory evidence [199] is DENIED; the court

reminds the Government of its continuing duty to produce exculpatory evidence under Brady.

        SO ORDERED this the 10th day of May, A.D., 2011.

                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE
